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                                    Wavttosii BittiOion

              UNITED STATES OF AMERICA,
                                                           CIVIL ACTION NO.: 5:17-cr-12


                   V.



              TANYA JOHNSON,

                           Defendant.



                                              ORDER


                   After an independent and de novo review of the entire

              record, the undersigned concurs with the Magistrate Judge's

              Report and Recommendation, dkt. no. 500, to which Defendant

              Tanya Johnson did not file any Objections.

                   Accordingly, the $30,000 Bond posted in this case is

              FORFEITED.     However, the Court SETS ASIDE the entire $30,000 and

              EXONERATES the Bond.


                   SO ORDERED, this             day of       Ca              , 2018.




                                            . LISAsGO0BEY WOOD,
                                           ITED ySTATES DISTRICT COU
                                          SOUTHBRN DISTRICT OF GEORGIA




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(Rev. 8/82)
